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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                       GAINESVILLE DIVISION



             UNITED STATES OF AMERICA,


                   v.                                      CRIMINAL ACTION NO.
                                                           2: 16-CR-005-RWS-JCF
             DOUGLAS L. PURDY,


                          Defendant.


                                                 ORDER


                   This case is before the Court for consideration of the Report and


             Recommendation ("R&R") [Doc. No. 31] of Magistrate Judge J. Clay Fuller.


             After reviewing the R&R and the Objections [Doc. No. 33] thereto, the R&R is


             received with approval and adopted as the Opinion and Order of this Court.


                   The Court has reviewed, de   novo,   the issues raised by Defendant's


             objections. The points raised in the objections were fully addressed in the


             R&R. The Court agrees with Judge Fuller's conclusions that Defendant has not


             shown by "clear evidence" that he is similarly situated to persons who have not


             been prosecuted for alleged bid rigging related to public auctions of foreclosed


             properties. And, even if Defendant had made such a showing, he has not


             satisfied the "discriminatory effect" prong necessary to establish a selective




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             prosecution defense.


                   Accordingly, Defendant's Motion to Dismiss [Doc. No. 24] is DENIED,


             and his request for discovery and a hearing on his selective prosecution and


             enforcement claim is DENIED.


                   SO ORDERED this 28th day of November, 2016.




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